                   Case 1-22-42314-nhl                    Doc 11          Filed 09/25/22              Entered 09/26/22 00:07:37


                                                              United States Bankruptcy Court
                                                               Eastern District of New York
In re:                                                                                                                 Case No. 22-42314-nhl
The Muse Brooklyn, Inc                                                                                                 Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0207-1                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Sep 23, 2022                                               Form ID: 309F2                                                            Total Noticed: 12
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Sep 25, 2022:
Recip ID                 Recipient Name and Address
db                     + The Muse Brooklyn, Inc, 350 Moffat Street, Brooklyn, NY 11237-6409
tr                     + Gerard R Luckman, Esq., Subchapter V Trustee, Forcelli Deegan Terrana, LLP, 333 Earle Ovington Blvd., Suite 1010, Uniondale, NY
                         11553-3645
smg                    + United States of America, Secretary of the Treasury, 15th Street & Pennsylvania Ave. NW, Washington, DC 20220-0001
10112532               + Moffat Holding LLC, c/o Kucker Marino, Winiarsky & Bittens LLP, 747 Third Ave, 12th Fl, New York, NY 10017-2859
10112534               + The Moffat Holdings LLC, 143 Division Ave, Brooklyn, NY 11211-7118

TOTAL: 5

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                    Date/Time                 Recipient Name and Address
aty                       Email/Text: weiss@ny-bankruptcy.com
                                                                                        Sep 23 2022 18:14:00      Ronald D Weiss, Ronald D. Weiss, P.C., 734 Walt
                                                                                                                  Whitman Road, Suite 203, Melville, NY 11747
smg                    + Email/Text: DOFBankruptcy@finance.nyc.gov
                                                                                        Sep 23 2022 18:14:00      NYC Department of Finance, 345 Adams Street,
                                                                                                                  Office of Legal Affairs, Brooklyn, NY 11201-3739
smg                    + Email/Text: nys.dtf.bncnotice@tax.ny.gov
                                                                                        Sep 23 2022 18:14:00      NYS Department of Taxation & Finance,
                                                                                                                  Bankruptcy Unit, PO Box 5300, Albany, NY
                                                                                                                  12205-0300
smg                    + Email/Text: labor.sm.ui.bankruptcy@labor.ny.gov
                                                                                        Sep 23 2022 18:14:00      NYS Unemployment Insurance, Attn: Insolvency
                                                                                                                  Unit, Bldg. #12, Room 256, Albany, NY
                                                                                                                  12240-0001
smg                    + Email/Text: ustpregion02.br.ecf@usdoj.gov
                                                                                        Sep 23 2022 18:14:00      Office of the United States Trustee, Eastern
                                                                                                                  District of NY (Brooklyn Office), U.S. Federal
                                                                                                                  Office Building, 201 Varick Street, Suite 1006,
                                                                                                                  New York, NY 10014-4811
10112531                  Email/Text: sbse.cio.bnc.mail@irs.gov
                                                                                        Sep 23 2022 18:14:00      Internal Revenue Service, P.O. Box 7346,
                                                                                                                  Philadelphia, PA 19101-7346
10112533               + Email/Text: nys.dtf.bncnotice@tax.ny.gov
                                                                                        Sep 23 2022 18:14:00      New York State DTF, P O Box 5300, Albany, NY
                                                                                                                  12205-0300

TOTAL: 7


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
smg              *             Internal Revenue Service, PO Box 7346, Philadelphia, PA 19101-7346

TOTAL: 0 Undeliverable, 1 Duplicate, 0 Out of date forwarding address


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
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District/off: 0207-1                                                User: admin                                                         Page 2 of 2
Date Rcvd: Sep 23, 2022                                             Form ID: 309F2                                                    Total Noticed: 12

in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Sep 25, 2022                                          Signature:         /s/Gustava Winters




                                      CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on September 23, 2022 at the address(es) listed
below:
Name                                  Email Address
Gerard R Luckman, Esq.
                                      gluckman@forchellilaw.com

Office of the United States Trustee
                                      USTPRegion02.BR.ECF@usdoj.gov

Ronald D Weiss
                                      on behalf of Debtor The Muse Brooklyn Inc weiss@ny-bankruptcy.com,
                                      R54991@notify.bestcase.com;michaelf@ny-bankruptcy.com;ryan@ny-bankruptcy.com;misty@ny-bankruptcy.com;sp@ny-bankr
                                      uptcy.com;mdaniels@ny-bankruptcy.com;sarah@ny-bankruptcy.com


TOTAL: 3
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 Information to identify the case:
 Debtor
                The Muse Brooklyn, Inc                                                     EIN:   46−0706492
                Name

 United States Bankruptcy Court     Eastern District of New York                            Date case filed for chapter:       11      9/21/22

            1−22−42314−nhl
 Case number:

Official Form 309F2 (For Corporations or Partnerships under Subchapter V)
Notice of Chapter 11 Bankruptcy Case                                                                                                                   10/20

For the debtor listed above, a case has been filed under chapter 11 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot sue, assert a deficiency, repossess property, or
otherwise try to collect from the debtor. Creditors cannot demand repayment from the debtor by mail, phone, or otherwise. Creditors who violate the stay
can be required to pay actual and punitive damages and attorney's fees.
Confirmation of a chapter 11 plan may result in a discharge of debt. A creditor who wants to have a particular debt excepted from discharge may be
required to file a complaint in the bankruptcy clerk's office within the deadline specified in this notice. (See line 12 below for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.

  1. Debtor's full name                       The Muse Brooklyn, Inc


  2. All other names used in the
     last 8 years


  3. Address                                  350 Moffat Street
                                              Brooklyn, NY 11237

  4. Debtor's attorney                        Ronald D Weiss
       Name and address                       Ronald D. Weiss, P.C.                                      Contact phone (631) 271−3737
                                              734 Walt Whitman Road
                                              Suite 203                                                  Email: weiss@ny−bankruptcy.com
                                              Melville, NY 11747

  5. Bankruptcy trustee                       Gerard R Luckman Esq.
      Name and address                        Subchapter V Trustee                                       Contact phone 516−812−6291
                                              Forcelli Deegan Terrana, LLP
                                              333 Earle Ovington Blvd., Suite 1010                       Email: gluckman@forchellilaw.com
                                              Uniondale, NY 11553

  6. Bankruptcy clerk's office                                                                            Hours open:
                                                                                                          9:00 am − 4:30 pm Monday−Friday
       Documents in this case may be filed
      at this address.                        271−C Cadman Plaza East, Suite 1595
      You may inspect all records filed in    Brooklyn, NY 11201−1800                                     Contact phone (347) 394−1700
      this case at this office or online at
      https://pacer.uscourts.gov.                                                                         Date: 9/23/22

                                                                                                           For more information, see page 2 >




Official Form 309F2 (For Corporations or Partnerships under Subchapter V)                Notice of Chapter 11 Bankruptcy Case                         page 1
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Debtor The Muse Brooklyn, Inc                                                                                        Case number 1−22−42314−nhl


  7. Meeting of creditors                                                                                Location:
       The debtor's representative must
      attend the meeting to be questioned October 24, 2022 at 11:00 AM                                   DUE TO COVID−19, THE MEETING
      under oath.                                                                                        WILL BE, HELD TELEPHONICALLY.
      Creditors may attend, but are not   The meeting may be continued or adjourned to a later           PLEASE CONTACT,
      required to do so.                  date. If so, the date will be on the court docket.             Janease.Clarke@usdoj.gov FOR,
                                                                                                         MORE INFORMATION., NY
                                                                                                         11201−1800

  8. Proof of claim deadline                 Deadline for filing proof of claim:
                                             For all creditors (except a governmental                     11/30/22
                                             unit):
                                             For a governmental unit:                                     3/20/23
                                             A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained
                                             at www.uscourts.gov or any bankruptcy clerk's office.
                                             Your claim will be allowed in the amount scheduled unless:
                                             • your claim is designated as disputed, contingent, or unliquidated;
                                             • you file a proof of claim in a different amount; or
                                             • you receive another notice.
                                             If your claim is not scheduled or if your claim is designated as disputed, contingent, or unliquidated, you
                                             must file a proof of claim or you might not be paid on your claim and you might be unable to vote on a plan.
                                             You may file a proof of claim even if your claim is scheduled.
                                             You may review the schedules at the bankruptcy clerk's office or online at https://pacer.uscourts.gov.
                                             Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a
                                             proof of claim submits a creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer
                                             can explain. For example, a secured creditor who files a proof of claim may surrender important
                                             nonmonetary rights, including the right to a jury trial.


  9. Exception to discharge                  If § 523(c) applies to your claim and you seek to have it
     deadline                                excepted from discharge, you must start a judicial
       The bankruptcy clerk's office must    proceeding by filing a complaint by the deadline stated
      receive a complaint and any            below.
      required filing fee by the following   Deadline for filing the complaint:                           __________
      deadline.


                                              If you are a creditor receiving notice mailed to a foreign address, you may file a motion asking the court to
  10. Creditors
      address
                with a foreign                extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you
                                              have any questions about your rights in this case.


                                             Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not effective unless the
                                             court confirms it. You may receive a copy of the plan and a disclosure statement telling you about the plan,
  11. Filing a Chapter 11
      bankruptcy case
                                             and you may have the opportunity to vote on the plan. You will receive notice of the date of the confirmation
                                             hearing, and you may object to confirmation of the plan and attend the confirmation hearing. The debtor will
                                             generally remain in possession of the property and may continue to operate the debtor's business.


                                             Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of your
                                             debt. See 11 U.S.C. § 1141(d). A discharge means that creditors may never try to collect the debt from the
  12. Discharge of debts                     debtor except as provided in the plan. If you want to have a particular debt owed to you excepted from the
                                             discharge and § 523(c) applies to your claim, you must start a judicial proceeding by filing a complaint and
                                             paying the filing fee in the bankruptcy clerk's office by the deadline.




Official Form 309F2 (For Corporations or Partnerships under Subchapter V)                Notice of Chapter 11 Bankruptcy Case                          page 2
